 

CaSe:14-22739-|\/|ER DOC#ZJ_J_S Filed:OS/lB/J_Q Entered203/15/1912244231 Pagel Of2

UNITED STATES BANKRUP'§`CY COURT
FOR THE DISTRICT OF COL()RADQ

JN RE: LISSA BETH W;LSON CASE No; z4-22?39-MER
CHAPTER 13
DEBTOR(S)

 

STATEMENT OF ARRANGEMENTS TO CURE DEFAULT AND./OR DEFECLENCY

 

Pursuant to the Chapter 13 Trustee’s i\/"iotion, the Debtoz'{s} has/have contacted the `§rustee and the fo§|owing
arrangements to cure the defauit and/or deficiency have been made:

P$_AN PAYMENTS ARE §2,048.0@ IN ARREARS THROUGH §:ebruar_\,f 201§ .

in addition to the regular monthly payment of $512.09, the Deb§or(s} wiii pay an additiona§ $293.00 for months
54 through 60 beginning March 2019, for a total of $805.00 per montn, or the case Wi|i be dismissed. Payments wii§
continue to be due on the 17th of each month.

AS A COND{TK}N OF TH|S AGREEMENT REGULAR PAYMENTS UNDER THE DEB?OR’S PLAN ARE REQU!RED TO
CGNTENU£ PU RSUANT TG TH€ TERMS O¥ THE CGNFIRNEED PLAN.

JN THE EVEN`!` THE DEBTOR FAH_S TO COMPLY WETH THE TERMS OF '¥`HE STATEMENT OF ARRANGEMEN?S, THE TRUSTEE
§\AAY li\/FMED!ATELY F|LE A CERT|¥|CATEON OF DEFAULT AND REQL?EST FOR D|SMLSSAL GF CASE.
COMTEMPORANEOUSLY WITH FH.[NG, THE TRUSTEE WiLL MA§L A COPY O¥ ?HE CERTIF|CAT!ON `§'O THE DEBTOR'S
COUNSEL OR THE DEBTOR, PRO SE.

***The attorneys signature verifies that he/she has communicated With the Deb,tor regarding the Motion to
Dismiss and this Stateme:'et of Arrangements.

Dared: ______-__ z

    

l Doug§as B, Kiei
4 Debtor Chapter 13 Trustee
By: 585 Karen G. Perse
Debtor Karen G. Perse, #17886
'_… Attorney for the Chap€er 13 Trustee
F/f"*‘f "~}51»#~--~ 7100 E Beneview Ave., ste 300
***Attorney for Debtor Greenwood Viiiage, CO 80111

720.398.4444

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CERT|FICATE OF SERVlCE

l hereby certify that a cop\f of give above Statement of Arrangements was placed in the U.S. l\/lail, postage pre-paid, to
the Debtor On jbl [§_ l .

Liisa Beth Wi|son
7755 E O_uincy Ave., #67
Denver, CO 80237

Notice by Electronic Transmission Was sent to the following persons/parties:

C/Q,

la ' e/leGros

